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EXHIBIT B

ease 1:09-cv-00597-i_i\/iB-TCB Documem 41-3 Filed 10/23/09 Page 2 or 3 Pa’@§it)l#@é§s

Roth, Melissa R.

From: Dickinson, Nlichelle J.

Sent: Wednesday, September 16, 2009 2:58 PlVl
To: isabel |Vl Hurnphrey

Cc: tdun|ap@dglegal.com; Roth, Ntelissa R.
Subject: RE: Sony VA|O laptops

lsabel,

l am perplexed at how your client just now determined that his work |aptop was mixed up with his personal

|aptop. One would think your client would have noticed over the past 10 months or so that the |aptop he has been
using contains NEl rather than his own personal data. Please explain why your client now believes NEl has

his |aptop and that the laptop in his possession is NEl's. l request that you provide any documentation that
supports his claiml as well as a description of the |aptop in your client's possession, including the model and serial
numberl so that we may look into this issue

l am aware of no documentation that suggests that the computer tower your client stole from NEl was among the
assets assigned and transferred to your client prior to closing in accordance with Sectlon 5.1 of the SPA. lt your
client has authentic documentation suggesting that NEl assigned and transferred the tower to himl please provide
us with copies of such documentationl so that we may look into this issue further Your client appears to miss the
bigger issue herel however, which is that regardless of who he believes owned the computer towerl he cannot
dispute that NE| owns the data on the computer tower; that he removed the data from NEl‘s offices without NEl's
consent; and that he has refused to return the data despite repeated requests to do so - essentiallyl that he stole
NEl's company data, which he now contends is irretrievable because the hard drive has been damaged lf your
client disputes any of these facts, l would be interested in his explanation

Nlichelle

From: lsabel M Humphrey [maiito:isabel@hhylaw.com]
Sent: Thursday, September 10, 2009 1226 PM

To: Dickinson, Miche||e J.

Subject: Sony VAIO laptops

lVlichelle, in the process of reviewing documents for discovery, Joe realized that the Sony VAIO |aptop he
returned to NE| was actually his personal |aptop (an "excluded asset" under the SPA, Schedule 5.1), and
the Sony VA|O |aptop he has in his possession is NEl's laptop. The laptops have identical specs, although
the model numbers are one digit off (NE|‘s is the newer model). Joe's personal |aptop was replaced by
Sony in October 2008 after Sony was unable to repair it, and NEl's |aptop wasn't even ordered until
September 2008 (we're not sure when it was received), so at the time of Joe's suspension both were
essentially identical and barely-used laptops that had just arrived from Sony. Neverthe|essl Joe would like
to arrange an exchange of the taptops. He will bring NE|'s |aptop to my ofhce today. P|ease confirm that
NE| still has Joe's personal |aptop and will turn it over to our firm in exchange for the other one.

Regarding the desktop computer that NE| released to Chris Loomis, you told me there was "some
question" whether it was the same one listed in Schedule 5.‘1 and encouraged me to look into the matter.
As there is only one desktop computer (“Custom Desktop Computer") listed in the schedule (along with "8
Del| l\/lonitors"), and there was only one desktop computer in Joe's othce at NEl-which was a custom
machinel was purchased by Joe prior to the sale, and was hooked up to 8 De|| monitors-please let me
know on what grounds NE| maintains that the computer Chris Loomls picked up was not Joe's computer

isabel lVl. Humphrey, Esq.

HUNTER, HUlVlPHREY & Y)C\VlTZl PLC
2633 E indian School Rd, #-440
Phoenix. Arizona 85016

10/23/2009

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